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                  UNITED STATES COURT OF APPEALS
                                                                  FILED
                          FOR THE NINTH CIRCUIT
                                                                   SEP 07 2018
                                                                 MOLLY C. DWYER, CLERK
                                                                  U.S. COURT OF APPEALS




 MATTHEW MULLER,                            No. 18-16693

              Plaintiff - Appellant,
                                            D.C. No. 4:18-cv-00376-RCC-PSOT
   v.                                       U.S. District Court for Arizona,
                                            Tucson
 UNITED STATES OF AMERICA,
 named as United States; R. L.              TIME SCHEDULE ORDER
 RHODES, named as Robbie L.
 Rhodes, Warden, Federal Correctional
 Institution Tucson; JUAN
 BALTAZAR, Warden, Federal
 Correctional Complex Tucson;
 THAHESHA L. JUSINO, Associate
 Warden, U.S. Penitentiary Tucson;
 LORI A. MITCHELL, Legal
 Assistant, U.S. Penitentiary Tucson;
 LORA R. MOLINAR, Supervisory
 Correctional Systems Specialist, U.S.
 Penitentiary Tucson,

              Defendants - Appellees.



The parties shall meet the following time schedule.

Mon., November 5, 2018        Appellant's opening brief and excerpts of record
                              shall be served and filed pursuant to FRAP 31 and
                              9th Cir. R. 31-2.1.

Failure of the appellant to comply with the Time Schedule Order will result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.
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                                    FOR THE COURT:

                                    MOLLY C. DWYER
                                    CLERK OF COURT

                                    By: Janne Nicole Millare Rivera
                                    Deputy Clerk
                                    Ninth Circuit Rule 27-7
